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 8 VICTORIA ADHARA WALL

 9

10                         UNITED STATE DISTRICT COURT
11                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
       VICTORIA ADHARA WALL,                  )     CASE NO.: 2:19-cv-6344-RGK-AS
13     individually,                          )     [Hon. R. Gary Klausner]
14                                            )
                    Plaintiff                 )
15                                                  [PROPOSED] ORDER RE JOINT
             vs.                              )     STIPULATION FOR DISMISSAL
16                                            )     OF REMAINING CAUSE OF
       CITY OF WHITTIER, a municipal          )     ACTION WITHOUT PREJUDICE
17     corporation; WHITTIER POLICE           )
18     DEPARTMENT, a political                )
       subdivision of the City of Whittier;   )
19
       DETECTIVE CHAD HOEPPNER,               )
20     individually and in his official       )
       capacity.                              )
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                                              )
22                                            )
             Defendants/Respondents.          )
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                                   [PROPOSED] ORDER
     Case 2:19-cv-06344-RGK-AS Document 74 Filed 10/08/21 Page 2 of 2 Page ID #:395



 1
            Pursuant to the Joint Stipulation for Dismissal of the Remaining Cause of
 2
      Action Without Prejudice, Plaintiff’s claim for Conversion is HEREBY
 3
      DISMISSED without prejudice.
 4
            IT IS SO ORDERED.
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 8
              October 8, 2021
      Dated: _____________________
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                                          _________________________________
11                                        HON. R. GARY KLAUSNER
12                                        UNITED STATES DISTRICT JUDGE

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                                  [PROPOSED] ORDER
